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    AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                               UNITED STATES DISTRICT COURT
                                                                                     for the
                                                                    DistrictDistrict
                                                               __________    of Columbia
                                                                                     of __________

                   In the Matter of the Search of           )
              (Briefly describe the property to be searched )
                 or identify the person by name and address))                                          Case No. 21-sc-3138
    THE MONITORING OF GLOBAL POSITIONING SYSTEM INFORMATION )
     AND CELL SITE LOCATION DATA FOR ONE VERIZON CELL PHONE )
      AND SEARCH OF INFORMATION ASSOCIATED WITH THE SAME
            NUMBER IN VIOLATION OF 18 U.S.C. § 1752(a)(1)
                                                            )

         APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
    penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
    property to be searched and give its location):
See Affidavit in Support of Application for Search Warrant. To ensure technical compliance with 18 U.S.C. §§ 3121-3127, the requested warrant will
also function as a pen register order. An attorney for the government has certified that the information likely to be obtained is relevant to an ongoing criminal investigation
being conducted by the Federal Bureau of Investigation See 18 U.S.C. §§ 3122(b), 3123(b).
    located in the                                         District of                   New Jersey                       , there is now concealed (identify the
    person or describe the property to be seized):
      See Attachment B (incorporated by reference)


               The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                           property designed for use, intended for use, or used in committing a crime;
                           a person to be arrested or a person who is unlawfully restrained.
               The search is related to a violation of:
                                    Code Section                                                                      Offense Description


               The application is based on these facts:

             See attached Affidavit (incorporated by reference).

                     Continued on the attached sheet.
                     Delayed notice of 30 days (give exact ending date if more than 30 days:                                                   ) is requested under
                     18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                                                Katie Hill, Special Agent, FBI
                                                                                                                        Printed name and title

    Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                          telephone                       (specify reliable electronic means).


    Date:              09/29/2021


    City and state: Washington, D.C.                                                                      Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                        Printed name and title
                        Case
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AO 93C (      )                                                                     Original                    Duplicate Original


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                              District
                                                        __________     of Columbia
                                                                   District of __________

                  In the Matter of the Search of                        )
              (Briefly describe the property to be searched             )
                     or identify the person by name and address)        )      Case No. 21-sc-3138
   THE MONITORING OF GLOBAL POSITIONING SYSTEM INFORMATION              )
    AND CELL SITE LOCATION DATA FOR ONE VERIZON CELL PHONE
     AND SEARCH OF INFORMATION ASSOCIATED WITH THE SAME
                                                                        )
           NUMBER IN VIOLATION OF 18 U.S.C. § 1752(a)(1)                )


To:        Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                                   District of           New Jersey
(identify the person or describe the property to be searched and give its location):
 See Attachment A (incorporated by reference). This court has authority to issue this warrant under 18 U.S.C. §§ 2703
 (c)(1)(A), and 2711(3)(A). Because the government has satisfied the requirements of 18 U.S.C. § 3122, this warrant
 also constitutes an order under 18 U.S.C. § 3123.



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B (incorporated by reference)




           YOU ARE COMMANDED to execute this warrant on or before                October 8, 2021        (not to exceed 14 days)
           in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to             Zia M. Faruqui, U.S. Magistrate Judge           .
                                                                                               (United States Magistrate Judge)

        Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        for 30 days (not to exceed 30)         until, the facts justifying, the later specific date of                                 .


Date and time issued:         09/29/2021


City and state:               Washington, D.C.                                         Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                     Printed name and title
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                                                               Return
Case No.:                        Date and time warrant executed:            Copy of warrant and inventory left with:
 21-sc-3138
Inventory made in the presence of :

Inventory of the property taken and name     of any person(s) seized:




                                                           Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:



                                                                                       Printed name and title
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                                      ATTACHMENT A-1


                                    Property to Be Searched


       1.      This warrant applies to records and information associated with the cellular

device assigned to call number

JEREMY BROWN, whose service provider

communications service provider that is located at 180 Washington Valley Road, Bedminster,

New Jersey 07921. The owner of the phone number is, at this time, unknown to law

enforcement.


       2.      Information about the location of the TARGET PHONE NUMBER that is within

the possession, custody, or control of PROVIDER, including information about the location of

the cellular telephone if it is subsequently assigned a different number.
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                         ATTACHMENT A-2


1.    The subject of this investigation is JEREMY BROWN.




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                                       ATTACHMENT B-1

       I.      Information to Be Disclosed by Provider

       All information about the location of the TARGET PHONE NUMBER described in

Attachment A-1 for a period of 30 days, during all times day or                 mation about the

                                   includes all available E-911 Phase II data, GPS data, latitude-

longitude data, and other precise location information, as well as al

(i.e., antenna towers cove

received a radio signal from the cellular telephone described in Attachment A-1. It further

includes:

               Any unique identifiers associated with the cellular device, including ESN, MEIN,

               MSISDN, IMSI, SIM, or MIN;

               Source and destination telephone numbers;

               Date, time, and duration of communication; and

               All data about the cell towers (i.e. antenna towers covering specific geographic

               areas) and sectors (i.e. faces of the towers) to which the TARGET PHONE will

               connect at the beginning and end of each communication, as well as per-call

               measurements data (also known as PCMD, RTT, NELOSE, TrueCall or similar).

       It also includes monitoring non-content signaling and routing information, including all

non-content packet switched data, through the installation and use of a pen register and trap and

trace device pursuant to 18 U.S.C § 3123 by the service provider and the Federal Bureau pf

Investigation. The pen register / trap and trace device shall be transferable to any change dialed

number subsequently assigned to a device bearing the same ESN, IMSI or SIM as the target cell

phone; any changed ESN, IMSI or SIM subsequently assigned the same dialed number as the target


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cell phone; or any additional changed dialed number, ESN, IMSI or SIM listed to the same

subscriber account as the target cell phone.

         To the extent that the information described in the previous paragraph (hereinafter,

                             ithin the possession, custody, or control of PROVIDER, PROVIDER

is required to disclose the Location Information to the government. In addition, PROVIDER must

furnish the government all information, facility, and technical assistance necessary to accomplish

the collection of the Location Information unobtrusively and with a minimum of interference with

                                       initiating a signal to determine the location of the target

                                                     other reference points as may be reasonably

available and at such intervals and times directed by the government. The government shall

compensate PROVIDER for reasonable expenses incurred in furnishing such facilities or

assistance.

         This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the Location Information. See 18

U.S.C. § 3103a(b)(2).

   II.        Government procedures for warrant execution

         The United States government will conduct a search of the information produced by the

PROVIDER and determine which information is within the scope of the information to be seized

specified in Section I. That information that is within the scope of Section I may be copied and

retained by the United States.

         Law enforcement personnel will then seal any information from the PROVIDER that

does not fall within the scope of Section I and will not further review the information absent an




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order of the Court. Such sealed information may include retaining a digital copy of all

information received pursuant to the warrant to be used for authentication at trial, as needed.




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                                      Attachment B-2

                              Particular Things to be Seized

I.      Government procedures for warrant execution

     To the extent that the information described in Attachment A-1 is within the possession,

custody, or control of the PROVIDER, including any information that has been deleted but is

still available to the PROVIDER or that has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), the PROVIDER is required to disclose to the government the following

information pertaining to the Account/TARGET PHONE NUMBER listed in Attachment A-

1:

        a. The following information about the customers or subscribers associated with the

            TARGET PHONE NUMBER/Account for the time period November 7, 2020 to

            January 20, 2021.

                i. Names (including subscriber names, user names, and screen names);

                ii. Addresses (including mailing addresses, residential addresses, business
                    addresses, and e-mail addresses);

               iii. Local and long distance telephone connection records;

               iv. Records of session times and durations, and the temporarily assigned
                   network addresses (such as Internet Pr
                   with those sessions;

                v. Length of service (including start date) and types of service utilized;

               vi. Telephone or instrument numbers (including MAC addresses, Electronic



                    Integrated Services Digital Networ
                    Mobile Subscriber Identity Identifiers                   rnational Mobile




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                   vii. Other subscriber numbers or identities (including the registration Internet


                  viii. Means and source of payment for such service (including any credit card
                        or bank account number) and billing records, and

                   ix. All records and other information (not including the contents of
                       communications) relating to wire and electronic communications sent or
                       received by the TARGET PHONE NUMBER/Account, including:


                            A. the date and time of the communication, the method of the
                               communication, and the source and destination of the
                               communication (such as the source and destination telephone
                               numbers (call detail records), email addresses, and IP addresses);
                               and
                            B. information regarding the cell tower and antenna face (also known
                                                                communications were sent and
                               received.
                            C. all available Mobile Data Session and IPv6 reports and any other
                               location information, in
                               Timing Advance Information or

   II.      Information to be Seized by the Government

         All information described above in Section I that constitutes evidence, fruits, contraband,

and instrumentalities of violations of 18 USC 371 (conspiracy); 18 USC 231(a)(2) (transport of

firearms or explosives for use in civil disorder); 18 USC 844(a)(2) (transportation of explosives)

and 1752(a)(1) and (2) (unlawful entry on restricted buildings

                                 ovember 7, 2020 to January 20, 2021.

         Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this Warrant.


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       Law enforcement personnel will then seal any information from the PROVIDER that

does not fall within the scope of Section I and will not further review the information absent an

order of the Court. Such sealed information may include retaining a digital copy of all

information received pursuant to the warrant to be used for authentication at trial, as needed.




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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

    IN THE MATTER OF THE SEARCH OF
    THE MONITORING OF GLOBAL
    POSITIONING SYSTEM
    INFORMATION AND CELL SITE                             Case No. 21-sc-3138
    LOCATION DATA FOR ONE VERIZON
    CELL PHONE AND SEARCH OF                              Filed Under Seal
    INFORMATION ASSOCIATED WITH
    THE SAME NUMBER IN VIOLATION
    OF 18 U.S.C. § 1752(a)(1)

Reference:       USAO Ref. # 2021R00494; Subject Account(s):

                                AFFIDAVIT IN SUPPORT OF
                         AN APPLICATION FOR A SEARCH WARRANT

        I, Katie Hill, being first duly sworn, hereby depose and state as follows:

                         INTRODUCTION AND AGENT BACKGROUND

        1.       I make this affidavit in support of an application for a search warrant under

Federal Rule of Criminal Procedure 41, 18 U.S.C. §§ 2703(a), and 2703(c)(1)(A), and former

                                                           the Matter of the Application of the United

States for an Order Authorizing the Monitoring of Geolocation and Cell Site Data for a Sprint

Spectrum Cell Phone Number ESN, 2006 WL 6217584 at *4 (D.D.C. 2006) (Hogan, C.J.)

                                     tion about 1) the prospective location of the cellular telephone

assigned call number                      , (hereinaft

                                    achment B-1; and 2) historic location data for the TARGET

PHONE NUMBER, as detailed in Attachment B-2 1, whose service provider is VERIZON

                                                           ider headquartered at 180 Washington Valley


1
  Upon receipt of the information described in Section I of Attachment B-2, government-authorized persons will
review the information to locate items described in Section II of Attachment B-2.
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Road, Bedminster, New Jersey 07921. As a provider of wireless communications service,

PROVIDER is a provider of an electronic communications service, as defined in 18 U.S.C. §

2510(15).

       2.      Because this warrant seeks the prospective collection of information, including

cell-site location information, that may fall within the statutory definitions of information

                                                              see 18 U.S.C. § 3127(3) & (4), the

requested warrant is designed to also comply with the Pen Register Act. See 18 U.S.C. §§ 3121-

3127. The requested warrant therefore includes all the information required to be included in an

order pursuant to that statute. See 18 U.S.C. § 3123(b)(1). A certification by Special Assistant

United States Attorney Louis Manzo, an attorney for the government, that the information likely

to be obtained is relevant to an ongoing criminal investigation being conducted by the Federal

Bureau of Investigations, is included on the signature page of this affidavit.

       3.      Your affiant is a Special Agent with the Federal Bureau of Investigation ("FBI"),

and, as such, am a "federal law enforcement officer" within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C). Your affiant joined the FBI as a Special Agent in August 2009.

Your affiant is currently assigned to the FBI's Tampa Division Joint Terrorism Task force

                                   duties include, but are not limited to, investigating individuals

and groups who have committed violations of federal laws, including federal laws related to

threats, international terrorism, and domestic terrorism. As a special agent, your affiant has

participated in numerous investigations and have executed both arrest and search warrants. The

facts in this affidavit come from my personal observations, my training and experience, and

information obtained from other agents and witnesses. This affidavit is intended to show merely




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that there is sufficient probable cause for the requested warrant and does not set forth all of my

knowledge about this matter.

       4.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 18 USC 371 (conspiracy); 18 USC 231(a)(2) (transport of firearms or explosives for

use in civil disorder); 18 USC 844(a)(2) (transportation of explosives) and 1752(a)(1) and (2)

(unlawful entry on restricted buildings or grounds)                            have been committed

by JEREMY BROWN and/or other identified and unidentified persons. There is also probable

cause to believe that the historical location information, as described in Attachment B-2, and that

the prospective location information, as described in Attachment B-1, will constitute evidence of

these criminal violations, and will lead to the identification of individuals who are engaged in the

commission of these offenses or evidence of the commission of these offenses. Moreover, the

prospective location information described in Attachment B-1 will provide evidence of where the

phone is currently located, and there is probable cause to believe the phone is an instrumentality

of the offenses described herein. There is also probable cause to believe that the location

information described in Attachment B will assist law enforcement in arresting JEREMY

                                                                    g of Federal Rule of Criminal

Procedure 41(c)(4).

       5.      The Court has jurisdiction to issue the proposed warrant because

                                                 § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated; see 18 U.S.C. §




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2711(3)(A)(i). The acts in furtherance of the offenses under investigation occurred within

Washington, DC. See 18 U.S.C. § 3237.

                                      PROBABLE CAUSE

                                           Background

       1.      The US Capitol Police (USCP), the FBI, and assisting law enforcement agencies

are investigating a riot and related offenses that occurred at the United States Capitol Building,

located at 1 First Street, NW, Washington, D.C., 20510 on January 6, 2021.

                        The 2020 United States Presidential Election and

                           the Official Proceeding on January 6, 2021

       2.      The 2020 United States Presidential Election occurred on November 3, 2020.

       3.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that                    al delegation.

       4.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state and in the District of Columbia and formalized the result of the

2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.

       5.      On or about December 19, 2020, President D

impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be



       6.      On January 6, 2021, a Joint Session of the United States House of Representatives

                                                  ) convened in the United States Capitol building




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                                                the vote of the Electoral College of the 2020 U.S.

Presidential Election (t

                                Criminal Activity Before the Riot

       7.      Based on my knowledge, training, and experience, I know that participants in the

kinds of criminal activities described herein tend to, and often did here, take certain preparatory

steps before committing their crimes, including: researching and purchasing materials and supplies

such as burner phones, tactical vests and helmets, and weapons including bear spray, pepper spray,

asps (police batons), guns and ammunition, and zip tie restraints; mapping and reconnoitering the

location of the planned crime and possible entry and escape routes, including checking for

surveillance cameras and other potential security surrounding such locations; training in how to

use their weapons and other tools and techniques involved in their planned criminal activity; and

organizing with other co-conspirators on social media and elsewhere for planned travel and

methods of attack.

       8.      Beginning after the election in November 2020, text and other communications

show that some groups of subjects planned and attended military-style training in preparation for

opposing the results of the election. Multiple groups that forcibly entered the Capitol appeared to

consist of individuals who had coordinated their actions. Some groups at the riot included

members who dressed in similar uniforms with the same insignia, and members of some groups

can be heard on video giving and following instructions. Based on my training and experience,

and this investigation, thes                                   movements, and communication

demonstrate that they had prepared together. Furthermore, the movement of these groups within




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the Capitol demonstrates an intent to, among ot

and to prevent, hinder, or delay the execution                        legal responsibilities.

       9.      Beginning in December 2020, using social media, text messaging, and messaging

applications, subjects planning to participate in the riot sent incendiary messages aimed at

recruiting as large a following as possible to go to Washington, D.C. to interfere with the official

Congressional proceeding on January 6, 2021. This investigation has shown that many of the

subjects of this investigation came from out of state and coordinated using social media, text

messaging, and messaging applications on their cell phones.

       10.     During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training

and experience, tactical vests and helmets. The common equipment and paraphernalia that groups

inside and outside the Capitol possessed, such as bear spray, eye protection, tactical vests, and

helmets, are evidence of some prior agreement among individuals to engage in the conduct

described herein.

                         The Riot at the U.S. Capitol on January 6, 2021

       11.     At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate




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                                                      nter surrounded by a concrete parkway. All this

area was barricaded and off limits to the public on January 6, 2021.

       12.     The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       13.     On January 6, 2021, the area of the U.S. Capitol grounds was established as a

restricted area. This restricted area consisted of both permanent and temporary security barriers

as well as posts manned by USCP to include bike racks. The restricted area was bounded to the

north of the U.S. Capitol along Constitution Avenue; to the south of the U.S. Capitol along

Independence Avenue; to the west of the U.S. Capitol along the eastern side of First Street; and,

on the east side of the U.S. Capitol, between the East Front and the grassy areas located between

the Plaza and First Street. Within the grassy area, a designated area for media was restricted by

bike racks. This bounded area is he

lawfully be on the Capitol grounds outside of the Restricted Grounds including on the East Front,

east of the bike racks along the Capitol Plaza, including all of the grassy areas on the East Front.

       14.     Within the West Front of the Restricted Grounds were additional temporary barriers

due to preparations and ongoing construction for the Presidential Inauguration including perforated

green plastic sheeting attached to stakes at regular intervals, known as snow fencing, and signage




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                                   the United States Capitol Police

the U.S. Capitol was also closed to members of the public.

       15.      A map of the area of the U.S. Capitol showing the Restricted Grounds is below, the

red   line    marks    the   police   line   at   the   edges   of    the   Restricted   Grounds:




             Figure 2: Restricted Grounds around the U.S. Capitol on January 6, 2021.

       16.      On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.    During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

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took place on November 3, 2020. The joint session began at approximately 1:00 p.m. Eastern

Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       17.     As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       18.     At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol. Pipe bombs were later found

near both the Democratic National Committee and Republican National Committee headquarters.

       19.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part

because of a suspicious package found nearby.

       20.     Media reporting showed a group of individuals outside of the Capitol chanting,

                                         is investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       21.     At approximately 2:00 p.m., some people in the crowd forced their way through,

up, and over the barricades and law enforcement. The crowd advanced to the exterior façade of

the building. The crowd was not lawfully authorized to enter or remain in the building and, prior



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to entering the building, no members of the crowd submitted to security screenings or weapons

checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the

certification proceedings were still underway and the exterior doors and windows of the U.S.

Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

order and keep the crowd from entering the Capitol.

       22.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

individual saying to a crowd outsi

your affiant believes was a reference to




       23.     Multiple groups that forcibly entered the Capitol appeared to consist of individuals

who had practiced and/or coordinated their actions. For example, some groups included members

who dressed in similar uniforms with the same insignia, and members of some groups can be heard


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on video giving and following instructions. Based on my training and experience, and this

investigation, these gro                                      nd communication demonstrate that

they had prepared together. In addition, the equipment and paraphernalia that groups inside and

outside the Capitol possessed, such as bear spray, eye protection, and helmets, are evidence of

some prior agreement among individuals to engage in the conduct described herein. Finally, the

movement of these groups within the Capitol demonstrates an intent to, among other things,

                                                        hinder, or delay the execution of the Joint



       24.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

                                                      the chambers. That is, at or about this time,

USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and locked it down.

USCP ordered a similar lockdown in the House chamber. As the subjects attempted to break into

the House chamber, by breaking the windows on the chamber door, law enforcement was forced

to draw their weapons to protect the victims sheltering inside.

       25.     At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the

federal police officers were injured and several were admitted to the hospital.

       26.     The subjects also confronted and terrorized members of Congress, Congressional

staff, and the media. The subjects carried weapons including tire irons, sledgehammers, bear

spray, and Tasers. They also took police equipment from overrun police including shields and



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police batons and used them against law enforcement officers trying to protect the U.S. Capitol

and the people who were legitimately inside it. At least one of the subjects carried a handgun with

an extended magazine. These actions by the unknown individuals resulted in the disruption and

ultimate delay of the vote Certification.

          27.   Also, at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          28.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          29.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

Publicly available video on the news media website of The New Yorker shows an individual




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                                    opened up the door to the Senate Chamber. Based upon the

context, law enforcement believes                           ference to members of Congress.




       30.    After subjects forced entry into the Senate Chamber, the same publicly available




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and the context, law enforcement believes that th

the House of Representatives, Nancy Pelosi.




       31.    A subject left a note on the podium on the floor of the Senate Chamber. This note,

captured by the filming reporter on th




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       32.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m.

       33.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       34.     At around 4:52 p.m. EST, at a staging area for the media set up outside of the U.S.

Capitol building on the east side, unknown subjects assaulted members of the media and stole and

destroyed equipment owned by various members of the media and media companies.

       35.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

U.S. Capitol of all of the subjects.

       36.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized occupant had

left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

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approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

United States Capitol from the time he was evacuated from the Senate Chamber until the session

resumed.

       37.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

       38.     Beginning around 9:00 p.m., the House resumed work on the Certification.

       39.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3 a.m. on January 7, 2021.

                                   Cell Phone Usage at the Riot

       40.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there. Subjects also posted comments, pictures, and video before, during,

and after breaching the Capitol grounds and the Capitol building.

       41.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to coordinate with other participants at the gatherings, to communicate with other individuals about

the gatherings, to allow individuals to capture photographs and video footage of the gatherings,

and to post on social media and digital forums about the gatherings. Nearly every phone is internet

equipped and allows individuals to access the internet, including Google.

       42.     Many subjects, including those detailed below, seen on news footage in the area of

the U.S. Capitol were using a cell phone in some capacity. Based on my participation in this

investigation, I know some subjects were recording the events occurring in and around the U.S.



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Capitol and others took photos, to include photos and video of themselves after breaking into the

U.S. Capitol itself. As reported in the news media, others inside and immediately outside the U.S.

Capitol live-streamed their activities, including those described above as well as statements about

these activities.

        43.     Photos available on various publicly available news, social media, and other media

show some of the subjects within the U.S. Capitol during the riot. In several of these photos, the

individuals who broke into the U.S. Capitol can be seen holding and using cell phones, including

to take pictures and/or videos.

        44.     In addition, organized groups within the rioters used social media, text messaging,

and messaging applications and other apps on their cell phones to plan and coordinate their

activities before, during, and after the riot. As described further below, Oath Keepers and

individuals associated with the Oath Keepers engaged in substantial use of internet connected

cellular devices during the riots of January 6, 2021.

                                  Criminal Activity After the Riot

        45.     Following the riot, many subjects posted pictures, video, and texts showing and

describing their participation in the riot. These included selfies and videos apparently taken with

their personal cell phones. Many of these posts were subsequently deleted. I know from my

knowledge, training, and experience that people who commit criminal acts will often delete such




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information in an attempt to thwart any subsequent criminal investigation.                   Some subjects

subsequently fled their homes and went into hiding.

                                   Facts Specific to This Application

                                        The Oath Keepers Militia

        46.     Law enforcement and news-media organizations observed that members of an

organization known as the Oath Keepers were among the individuals and groups who forcibly

entered the Capitol on January 6, 2021. The Oath Keepers are a large but loosely organized

collection of individuals, some of whom are associated with militias. Some members of the Oath

Keepers believe that the federal government has been coopted by a cabal of elites actively trying

to strip American citizens of their rights. Though the Oath Keepers will accept anyone as

members, they explicitly focus on recruiting current and former military, law enforcement, and

first-responder personnel. The or                                        e oath sworn by members of the



Keepers are led by PERSON ONE.

        47.     In a widely disseminated video2 recorded by a photojournalist on January 6, 2021,

                                    in matching uniforms consisting of camouflaged-combat attire, to

include confirmed Oath Keeper members (further described below), moves up and through a




        2
         See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e


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crowd on the east side of the U.S. Capitol. A screenshot of the video is below, with a portion of




       48.     Law enforcement reports that a stack or line formation is a tactical formation used

by infantryman in the military. One defining feature of this formation is that members keep their

hands on the backs or vests of the person in front of them to remain together while entering a room

or weaving through a crowd. The purpose of maintaining direct physical contact with one another

is to efficiently communicate with one another, especially in crowded or noisy areas.

       49.                                                    YouTube a video of the January 6,

2021, attack at the Capitol. At the approximate 3-minute-and-8-second mark, the video shows

eight-to-ten individuals in matching uniforms consisting of camouflaged-combat attire




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aggressively approaching an entrance to the Capitol.3 These individuals, who are wearing helmets,

reinforced vests, and clothing with Oath Keeper logos and insignia, can be seen moving in an




       3
           See https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be.


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organized and practiced fashion and forcing their way to the front of the crowd gathered around a

set of doors to the Capitol.




       50.     A close-up view of the badges on the vest of one of these individuals, seen just

under the Oath Keepers emblem on his shirt, di




       51.     Based on the foregoing observations of the video, and information gained in the

course of the investigation, it is reasonable to believe that the organized group of individuals

marching to the doors of the Capitol in the video above are members and affiliates of the Oath

Keepers. More than a dozen Oath Keepers, including Jessica Watkins, Kelly Meggs, and
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approximately eight individuals from Florida (including Defendant Four as referenced below),

have been charged for their involvement in the January 6 riots.

                                 Facts Specific to Jeremy Brown

       52.     On January 25, 2021, FBI WFO received a complaint from Witness 1 who has

known JEREMY BROWN for multiple years. Witness 1 provided publicly available photos of

BROWN in tactical gear from January 5, 2021, but was unsure about whether BROWN entered

the Capitol during the riots. Your affiant has provided one of the photos here:




       53.     Your affiant was able to identify

comparing the publicly available photo of Brown (above) from January 5 th to photography and

video from January 6. Your affiant located a publicly available photo of him on Twitter wearing

the same distinctive attire standing just before the steps of the East side steps of the Capitol during

the riots of January 6. He was more than 100 feet within the restricted grounds that law

enforcement had originally set up to protect Congress and Vice President Pence during the

certification of the Electoral College vote. Brown wore full military gear, including a helmet, radio,
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a tactical vest, and prominently displayed large surgical trauma shears tucked into a pack sitting

on the vest, nearly the exact attire that he wore on the prior day. Your affiant has provided the

photo below:




       54.     Your affiant reviewed body worn camera footage from January 6, 2021 and was

able to identify BROWN by his distinctive attire outside the East doors of the Capitol at

approximately 4:27 PM. During this period, Brown remained at least one hundred feet past the

barriers that law enforcement had initially set up to protect the Capitol. On the body worn camera

video, BROWN carried zip ties attached to his belt, as well as a radio, surgical trauma shears, and

tactical gear. Metropolitan Police Officers, in attempting to resecure the Capitol Grounds,
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                                                     n. Instead of voluntarily complying with police

orders, BROWN only retreated when pushed with police baton sticks. During this encounter,

BROWN repeatedly claimed that the officers were, in his opinion, violating the laws and the

Constitution of the United States. Your affiant has included a screenshot below:




           55.      In the course of this investigation, your affiant has also reviewed a statement from

Defendant 4 who has pled guilty to Conspiracy to Obstruct an Official Proceeding relating to his

conduct and the conduct of other Oath Keepers in breaching the US Capitol on January 6, 2021.

           56.      According to Defendant 4, Defendant 4 utili

house on January 4 in preparation for traveling to Washington D.C. Your affiant has obtained

records from the ride share company indicating that Defendant 4 entered an address consistent



           57.      According to Defendant 4, Brown and other individuals associated with the Oath

Keepers coordinated their activity via a Signal4 chat of Florida Oath Keepers. They caravanned in



4
    Signal is an encrypted chat application.


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a recreational vehicle (RV) that was, according to Defendant 4, loaded with a cache of weapons,

ammunition, and gas. Defendant 4 followed the RV in BROWN                           n. Kelly Meggs,

currently indicted for his role in the conspiracy and the leader of the Florida branch of the Oath

Keepers, informed Defendant 4                                          nd had explosives inside the

RV. Defendant 4 positively identified Brown in the publicly available Twitter photo referenced

above.

         58.    Your affiant has reviewed the Signal chat referenced by Defendant 4. In the chat,

BROWN coordinated travel plans with other Oath Keepers and rendezvous points. On December

                                                             ty of Gun Ports left to fill. We can pick



         GROUND FORCE ONE Departure Plan:
         If you can, come to my house anytime Saturday. You can stop by and drop stuff
         off, or stay the night. This way we can load plan, route plan, and conduct PCIs (Pre
         Combat Inspections).
         I would LIKE to depart by 0645 on Sunday morning, Jan 3rd. Push through to the
         NC linkup on the 3rd, RON (Rest Over Night) there, then push to DC on the 4th.
         This will give us the 4th/5th to set up, conduct route recons, CTR (Close Target
         Reconnaissance) and any link ups needed with DC elements.
         If you need to be picked up, then we will work that into route plan and will provide
         exact pickup time by Saturday evening. Please have EVERYTHING ready once we
         arrive. It will be an ERO (Engine Running Onload).
         IF YOU ARE RIDING WITH ME, dm me with your plan to come here or be picked
         up. I will send address via the dm.
         I am willing to make adjustments all the way up until we pass your ass headed
         north, but it is now time to shit or get on someone else's pot. READY? GO!!!

         59.    Your affiant has also reviewed statements made by BROWN and other Oath

Keepers following the riots of January 6, 2021. On that day, BROWN wrote:

         Everything you are watching on the Media and Houses of Congress is a LIE! I was
         shot in the neck with pepper balls and beating in the forearm with a night stick




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       trying to shield unprotected Civilians from being hit in the head. This was an
       exercise in the unrestrained addiction to power.


Other indicted Oath Keepers also participated on additional Signal chats with BROWN. On the

afternoon of January 7, 2021, Jessica Watkins, who has been indicted on charges of Conspiracy

and Obstruction of an Official Proceeding for he                            roud to go in with you



been able to retrieve portions, but not all of this chat from the phones of other conspirators. Some

messages in the chat appear to have been deleted including those sent by Kelly Meggs, who, like

Watkins, has also been indicted for Conspiracy and various charges with other Oath Keepers.

       60.     Your affiant also has reviewed

(@brownforcongress2020). Based on this review, your affiant was able to confirm that BROWN




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intended to travel to DC for the January 5 protests in an RV with other individuals:




          61.      Your affiant also reviewed publicly available video podcasts of BROWN and

PERSON ONE. In an interview posted on July 12, 2021, 5 BROWN stated that he was present with

other Oath Keepers on January 6. Prior to the riots, he deposited his guns with other Oath Keepers

in Virginia and retrieved them after the riots. During the riots, BROWN stated that he was present

with other Oath Keepers, including those who have been indicted for actions relating to their




5
    https://freeworldnews.tv/watch?id=60ecff8474feb85ab1adec2f


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breach of the Capitol, and encouraged other Oath Keepers, such as Jessica Watkins, not to enter

the Capitol.

       62.     Your affiant has reviewed a statement given by BROWN to federal agents. Law

enforcement agents called BROWN at XXX-XXX-4564 on or about January 6 and 7, 2021 and

inquired regarding his whereabouts. Agents spoke briefly with BROWN on January 6, 2021 but

could not hear him well due to apparent crowd noise. BROWN spoke to agents in more detail on

January 7, 2021. He told them that he was present in Washington, D.C. and provided security for

                                y. He stated that he had no information about anyone who entered

the Capitol.

       63.     According to records obtained through a search warrant which was served on

Verizon, on January 6, 2021, in and around the time of the incident, the cellphone associated with

XXX-XXX-4564 was identified as having utilized a cell site consistent with providing service to

a geographic area that included the interior of the United States Capitol building. Your affiant has

not yet identified BROWN inside the Capitol, but has identified him within the restricted ground.

       64.     Your affiant has learned from an individual who has known BROWN for multiple

years that he intends to sell his current house and vacate the premises by approximately October

2, 2021. According to publicly available informati

residence is currently for sale. On a photo from what appears to

identified a large white board containing lists of items corresponding to the following column:



column, there are numerous firearms listed and expl

                                                   USC 5861, unless registered with the Bureau of




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Alcohol, Tobacco, and Firearms (ATF). Your affiant has queried information with the ATF.

BROWN is not registered to possess explosive devices.

       65.

                                                                       written in black marker.

                                                   , are written in black marker indicating that

they are on hand. Your affiant has included a zoomed in screen shot of the photo below and has

circled flash bangs in red:




       66.     Your affiant has spoken to an individual who has known BROWN for multiple

years. This individual did not have any specific knowledge about BROWN possessing or seeking

                                                                 ving both in the RV and in the




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house. The RV is the same RV he used to travel to Washington, D.C. The RV is parked in front of

his house. FBI agents observed the RV on September 21, 2021 and photographed it below:




       67.    Both the RV and trailer are registered to                        , who according

to multiple individuals who have known BR

                                           lists her home address as of                       ,

               . BROWN resides with                                                .

       68.    A family member of Witness 1 informed Witness 1 that IT was present inside



possessions with multiple boxes and weapons scattered throughout the house. Publicly available

photos on Zillow now show an organized home, inconsistent with the description of the house by


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the family member of Witness 1. Witness 1 stated that BROWN now alternates sleeping in the

house and in the RV.

       69.     Based on my training, experience, general familiarity with the small confines of an

RV, the fact that the trailer was purchased approximately one month ago and sits next to the RV

and the house within the property line of                          , and that it is unlikely that an

individual would market a home available for public inspection with guns and explosives inside

of the home, it is probable

ammunition, and explosives, which constitute potential evidence in the investigation, have been

moved to the RV or trailer.

                                         Cellular Devices

       70.     There is probable cause to believe th

electronic devices contain evidence of the criminal conduct under investigation. Because BROWN

traveled to Washington, D.C., from Florida, there is also probable cause to believe that BROWN

would have used any cellular telephone in his possession to communicate with others during his

trip about his activities in Washington, D.C., navigate during travel, conduct searches for food and

lodging, and for other purposes that would serve as evidence of his whereabouts and activities at

various points during his trip.    All of this type of electronically-stored evidence will help

                                                     es at the U.S. Capitol on January 6, 2021, his

intent when traveling to Washington, D.C., and the identities of his coconspirators.

       71.     It is well-known that virtually all adults in the United States use mobile digital

devices like cellular telephones. In a fact sheet from June 12, 2019, The Pew Research Center for

Internet & Technology estimated that 96% of Americans owned at least one cellular phone, and

that that same 2019 report estimated that 81% of Americans use at least one smartphone. See



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Mobile Fact Sheet, https://www.pewresearch.org/internet/fact-sheet/mobile. Given cellular

                               size, and ability to store uniquely personal information, your affiant

knows that cellular telephone users generally keep his cellular telephone on or near himself.

                     Facts Specific to This Seizure of the TARGET PHONE

       72.     On or about September 30, 2021, your affiant anticipates arresting BROWN for

violations of federal law. Due to officer safety considerations, your affiant and other federal agents

anticipate arresting BROWN when he is away from his suspected cache of weapons and explosives

that BROWN likely keeps at his house, RV, or trailer. In the last week, agents have observed

BROWN leave his property. Based on my training and experience, your affiant knows that

individuals typically carry their cell phones when they exit their property. During the arrest of

BROWN, your affiant will identify the TA

vicinity, or his vehicle by calling or pinging the TARGET PHONE. Obtaining active real time

information about the location of the TARGET PHONE will aid your affiant in both arresting

BROWN and in seizing the device.

       BACKGROUND ON CELL-SITE DATA AND LOCATION INFORMATION

       73.     In my training and experience, I have learned that PROVIDER is a company that

provides cellular telephone access to the general public. I also know that providers of cellular

telephone service have technical capabilities that allow them to collect and generate information

about the locations of the cellular telephones to which they provide service, including: (1) E-911

Phase II data, also known as GPS data or latitude-longitude data, and (2) cell-site data, also

                                                                       E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via GPS tracking

technology built into the phone or by triangulating



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covering specific geographic areas) that received a radio signal from the cellular telephone and,

                                              towers) to which the telephone connected. These

towers are often a half-mile or more apart, even in urban areas, and can be 10 or more miles

apart in rural areas. Furthermore, the tower closest to a wireless device does not necessarily

serve every call made to or from that device. Accordingly, cell-site data is typically less precise

that E-911 Phase II data.

       74.     Based on my training and experience, I know that PROVIDER can collect E-911

Phase II data about the location of the Target Cell Phone, including by initiating a signal to

determine the location of the Target Cell Phone on

reference points as may be reasonably available.

       75.     Based on my training and experience, I know that PROVIDER can collect cell-

site data about the Target Cell Phone. Based on my training and experience, I know that for each

communication a cellular device makes, its wireless service provider can typically determine: (1)

the date and time of the communication; (2) the telephone numbers involved, if any; (3) the cell

tower to which the customer connected at the beginning of the communication; (4) the cell tower

to which the customer connected at the end of the communication; and (5) the duration of the

communication. I also know that wireless providers such as PROVIDER typically collect and

retain cell-site data pertaining to cellular devices to which they provide service in their normal

course of business in order to use this information for various business-related purposes.

       76.     Based on my training and experience, I know that Verizon also collects per-call

                                                   timing advance or Verizon's "TrueCall" report.

Timing advance information estimates the approximate distance of the cellular device from a



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cellular tower based on the speed with which signals travel between the device and the tower.

This information can be used to estimate an approximate location range that is more precise than

typical cell-site data.

        77.     Based on my training and experience, I know that each cellular device has one or

more unique identifiers embedded inside it. Depending on the cellular network and the device,

the embedded unique identifiers for a cellular device could take several different forms,




Mobile Subscriber Integrated




be recorded by pen-trap devices and indicate the identity of the cellular device making the

communication without revealing

        78.     Based on my training and experience, I know that wireless providers such as

PROVIDER typically collect and retain information about their subscribers in their normal

course of business. This information can include basic personal information about the

subscriber, such as name and address, and the method(s) of payment (such as credit card account

number) provided by the subscriber to pay for wireless communication service. I also know that

wireless providers such as PROVIDER typically collect and retain information about their

                                  rvice, such as records about calls or other communications sent

or received by a particular device and other transactional records, in their normal course of

business. In my training and experience, this information may constitute evidence of the crimes




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under investigation because the information can be used to identify the TARGET PHONE



                                    AUTHORIZATION REQUEST

       79.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c).

       80.     The proposed warrant will also function as a pen register order under 18 U.S.C. §

3123 authorizing the installation and use of a pen register and/or trap and trace device to record,

decode, and/or capture certain information in Attachment A-1 for each communication to or

from the TARGET PHONE NUMBER, without geographic limit, for a period of thirty (30) days

pursuant to 18 U.S.C. § 3123(c)(1).

       81.     I further request that the Court direct PROVIDER to disclose to the government

any information described in Section I of Attachment B that is within its possession, custody, or

control. I also request that the Court direct PROVIDER to furnish the government all

information, facilities, and technical assistance necessary to accomplish the collection of the

information unobtrusively and with a minimum

including by initiating a signal to determine the location of the Target Telephone on

                                                   ce points as may be reasonably available, and

at such intervals and times directed by the government. The government shall reasonably

compensate PROVIDER for reasonable expenses incurred in furnishing such facilities or

assistance.

       82.     Because the warrant will be served on PROVIDER, who will then compile the

requested records at a time convenient to it, good cause exists under Rule 41 to permit the

execution of the requested warrant at any time in the day or night. Further, pursuant to 18 U.S.C.



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§ 2703(g), the presence of a law enforcement officer is not required for the service or execution

of this warrant.

                                         CONCLUSION

        83.    I submit that this affidavit supports probable cause for a warrant to collect the

requested information about the location of the Target Telephone, as described in Attachment A,

and to seize the evidence described in Attachment B.

                                                   Respectfully submitted,




                                                   KATIE HILL
                                                   SPECIAL AGENT
                                                   FBI


        Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on September 29,
2021.




        _________________________________________
        ZIA M. FARUQUI
        UNITED STATES MAGISTRATE JUDGE




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                  Attorney Certification Under 18 U.S.C. §§ 3121-3127

To ensure technical compliance with 18 U.S.C. §§ 3121-3127, the warrant applied for herein
will also function as a pen register order. I, an attorney for the Government, certify that the
information likely to be obtained is relevant to an ongoing criminal investigation being
conducted by FBI. See 18 U.S.C. §§ 3122(b), 3123(b).

                                              ____/s/_Louis Manzo______________
                                              Louis Manzo
                                              Special Assistant United States Attorney
                                              District of Columbia




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                CERTIFICATE OF AUTHENTICITY OF DOMESTIC
            RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
                           902(11) AND 902(13)


       I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by Verizon, and my title is

_____________________________. I am qualified to authenticate the records attached hereto

because I am familiar with how the records were created, managed, stored, and retrieved. I state

that the records attached hereto are true duplicates of the original records in the custody of

Verizon. The attached records consist of _________________________ [GENERALLY

DESCRIBE RECORDS (pages/CDs/megabytes)]. I further state that:


       a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Verizon, and they were made by Verizon as a regular practice; and


                                                          s electronic process or system that

produces an accurate result, to wit:


               1.       the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of Verizon, in a manner to ensure that they are true duplicates of the

original records; and


               2.       the process or system is regularly verified by Verizon, and at all times

pertinent to the records certified here the process and system functioned properly and normally.
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        I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




 Date                                  Signature
